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The Honorable Marsha J. Pechman

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

 

 

Yolany PADILLA, et al.,
Plaintiffs, No. 18-cv-0928 MJP
v.
DECLARATION OF HILARIO
U.S. IMMIGRATION AND CUSTOMS MERCADO, Jr, ESQUIRE
ENFORCEMENT, et al.,
Defendants.
l, Hilario Mercado, Jr, Esquire, hereby declare:
l. l am an attorney licensed to practice law in Virginia. My business address is: 8315

Lee Highway, Suite 204, Fairfax, Virginia 22031. I am admitted to practice law in
the federal courts, Fourth and Eleventh Circuit Courts, and the Commonwealth of
Virginia.

2. l have been practicing immigration law since 20()1. l am an owner of Mercado Law
Firm, P.L.C. located in Virginia. My practice focuses on family and immigration

law.

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RIGHTS PROJECT

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Hilario Mercado, Jr, Esq. DEC. - l
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3. During my seventeen years of practice, l have been representing clients who have
expressed a fear of return to their country of origins or an intention to apply for
asylum to officials in the Departrnent of Homeland Security (“DHS”) and who are
given credible fear interviews before an asylum officer

4. My current client, Idalia Vitalina Ramirez Hernandez, came to the United States, on
or about May 16, 2018, without inspection near or at Roma, Texas, with her two
minor children.

5. The Respondent and her minor children were separated upon entry. The
Respondent was detained by agents of the Bureau of Customs and Border Protection
(“USCBP”) of the DHS on May 16, 2018, and transferred to Northwest Detention
Center in Tacoma, Washington, where she remains in DHS’s custody.

6. The asylum office, in the current case, failed to schedule and conduct credible fear
interview within 10 days after she requested asylum and expressed a fear of retum.

7. On June 20, 2018, the Asylum Offlcer (“AO”), Sieminski, conducted a telephonic
credible fear interview with my client. lt took the asylum office over five weeks to
schedule and conduct the asylum interview.

8. On June 22, 2018, the AO found my client to have a credible fear of persecution.

9. Meanwhile, my client remains detained at the Northwest Detention Center and
separated from her two children for over four months.

10. The scheduling of my client’s bond hearing took over three and a half weeks.

11. A Bond Hearing was held on July 18, 2018, almost two weeks after the AO’s

determination of my client’s credible fear of persecution

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lmmigration Judge Theresa M. Scala determined during the bond hearing that my
client is a flight risk and should not be released. My client received a written bond
decision labeled Custody Order of the lmmigration Judge, from lmmigration Judge
Theresa M. Scala noting that she is a flight risk.

During the bond hearing my detained client, who established that she has a credible
fear of persecution, had a burden of proving eligibility for release from detention.
The harm caused by my client (not DHS) bearing the burden of proof is immense.
lmmigration Judge Theresa M. Scala denied my client’s release and instead of
determining bond, she ruled that my client is a flight risk. The judge based her
decision on a statement that my client does not have an asylum claim, despite being
found credible and having a very solid case based on persecution on account of
religion and membership in a particular social group. My client has been provided
with Form 1-589 to file an application for asylum and withholding of removal, but
the form and instructions were given to her in English language. My client only
speaks Spanish.

My client is a detained asylum seeker who was initially interviewed, on June 22,
2018, and was found by an asylum officer to have a credible fear of return to
Guatemala. My client entered the United States without inspection and remains
eligible to seek a bond hearing before the immigration judge.

On August 31, 2018, l submitted a motion for a bond hearing redetermination
lmmigration Judge Tammy L. Fitting in Tacoma, Washington, denied my motion on

September 5, 2018. 1 was not informed of the decision until September 17, 2018,

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after the Court Administrator, Joseph Neifert, searched for my client’s motion for
three days. The decision of September 5, 2018, about which I have learned
approximately 12 days later, states that the hearing request is not based on changed
circumstances We have not received an order yet.

Aliens, as my client, who are separated from their children are psychologically
harmed waiting for a bond hearing that may never be allowed to happen, at least it
appears that way. The humanitarian reasons l have presented on behalf of my client
represent a sufficient changed circumstance. See Jennz`ngs v. Rodriguez, 138 S. Ct.
830 at 844 (2018).

My client’S motion for bond redetermination was based on humanitarian needs of
her children, who are psychologically suffering due to separation from their mother
at my request. The children underwent psychological assessment

My client’s children were assessed by Doctor Juan Carlos Silva Phd., on September
7, 2018, because of the concern for children’s well-being.

Dr. Silva diagnosed them with Adjustment Disorder with mixed anxiety and
depressed mood due to separation from their mother such as decreased appetite,
weight loss, sadness during most of the day, insomnia, crying spells, anhedonia or
loss of interest in engaging in pleasant activities, distractibility, and refusal to attend
school.

Thus, the effect on children who recently enrolled at school and have to adjust to
new circumstances should have warranted a bond redetermination hearing.

On September 13, 2018, l submitted to the lmmigration Court sitting in Tacoma,

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Washington, another motion for bond redeterrnination. This was five days before
the lmmigration Court and Court Administrator, Joseph Neifert, were able to locate
my original motion for bond redetermination

The harm caused to my client and her two children, as an asylum seeker who
established a credible fear, as a result of bond hearing denial, and a subsequent
denial of another motion for bond hearing redetermination is inexplicable and
unconscionable The judge assessed and denied, on September 5, 2018, the
subsequent motion for bond on the merits without scheduling and hearing the
argument.

In my experience, the bond hearings for individuals who pass credible fear
proceedings are usually not recorded. Regardless, I have recently requested the
recordings for my client’s bond and master hearings. The Court Administrator

replied that my request will be processed in a week.

I declare under penalty of perjury of the laws of the State of Virginia and the United States that

the foregoing is true and correct to the best of my knowledge and belief. Executed this 20 day

of September 2018 in Fairfax, Virginia.

Hilario Mercado, Jr, Esq. DEC. - 5
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v w
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